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UNITED STATES DISTRICT COURT

DISTRICT OF MARYLAND
CHAMBERS OF U.S. COURTHOUSE
CATHERINE C. BLAKE 101 WEST LOMBARD STREET
UNITED STATES DISTRICT JUDGE BALTIMORE, MARYLAND 21201
(410) 962-3220
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September 16, 2019

Theresa Whalen, Esquire

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36 S. Charles Street

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Baltimore, Maryland 21201

Re: United States v. Dante Bailey
Criminal No. CCB-16-0267

Dear Counsel:

Enclosed is a letter which I have received from Dante Bailey regarding
sentencing.

Sincerely yours,

bid.

Catherine C. Blake
United States District Judge
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To the Honorable Judge Catherine Blake;

On March 18,2019 | began a trial for Rico in front of you. On April 30", 2019, a verdict of Guilty
of all counts was rendered by a jury. My name is Dante Bailey and | am facing life in prison.

The reason | am writing you today is, just like everyone else involved in my case, even the
government witnesses, it is up to you to determine my sentence. Instead of me just sitting back and
acting hopeless with a nonchalant attitude, | sit to write, especially since all you have to go on to make
your final judgement is what you saw & heard at trial and the PSR’s (46) pages that allegedly sums up my
entire existence. Looking from your prospective, if that was all | had to judge you on, your chances of
receiving a favorable result would be slim to none. In my case, not receiving a life sentence is most
definitely a favorable result.

Now | will not waste my time speaking about the prosecution mis-conduct or the ineffectiveness
of counsel that was appointed to me. You will receive those arguments in legal form in bulk in the
future. Today | just want to focus on me.

| am a 40-year-old man who has spent over half of his life in custody In November of 1993, | was
14 years old inside of a stolen vehicle. Because | was the passenger | was charged with theft. | was
aware the car was stolen. Where | come from that was cool. In April of 1993, | was in a group fight in my
neighborhood (5200) Clifton Ave. and the parents all called the police and we were arrested for
assaulting each other.

At the age of 15, | was sent to Savage Mountain Truth Center for possession of cocaine with
intent to distribute in my neighborhood. In actuality the police found the guy who ran and stashed the
product, | was charged because | would not tell them who he was. This got me sent away from home for
(8) months as a child. At the age of 15, | became a prisoner in a boot camp like setting where the staff
not only abused me by making me and all the other kids participate in shock treatments. Have you ever
gotten splashed with an iced cold bucket of water as an alarm clock at 4:00AM in the morning by a:
blatant racist who was hired to torture you? Ina place where you are timed in the cafeteria like its an
eating contest and once you are finished your rushed out to a wooded trail in the wee hours of the
morning to jog a mile to a site where you had to saw tree trunks and make loads of lumber. Asan adult,
this is strenuous, so imagine what | felt as a 15 year old kid coming from a major U.S. city mostly
populated by blacks never seeing white people besides in a uniform that resembled everything | was
taught to hate, going into the mountains with scary Caucasians with klansmen-like mentalities,
something happened to my mind there.

While | was in the juvenile justice system, my grandmother (Bernice Bailey) was accidently killed
by my Uncle, her son (Carlos Bailey) ina car crash. He fell asleep behind the whee3l and smashed my
grandmother’s side of the vehicle into a tree. | was allowed to go to the funeral, but | could not stand
the sight of seeing my grandmother dead, so | ran away for the entire week | was allowed to be on
leave. This is when | began experimenting with drugs. It was reflected in my urine when | was tested at
the youth center on my return. In June of1995, | was discharged from the youth center because | could

not adjust after my grandmother's death.

After a month of being free, | was robbed at gunpoint and shot on a public street in Baltimore
city. On July 274 1995, | was shot in my left side walking ro the sore in the neighborhood | lived in (5200).
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45 days later, | was arrested in Towson Town Center in Abercrombie & Fitch store for trying on a shirt |
was buying for a Wu-tang Clan concert. | hada firearm in my waste band. | was charged with battery
because | pushed the mall cop and ran. | didn’t want to go back to jail. | was caught at the entrance
because the county police had the mall surrounded because someone was attem pting suicide y jumping
off the roof. | had already thrown the gun, so | wasn’t armed. When | got to the police station, they
asked me why | had a gun. My only explanation was for my own protection. My attitude after getting
shot was, I’d rather have it on me & live, then not and die...

After that, about a year later | was jumped by a rival neighborhood group of males and pistol
whipped over a mopad that my Uncle bought me. Two weeks after | recovered from the assault, | saw
(2) of the culprits at the gas station in my neighborhood (5200) and my friends and | retaliated. This led
to robbery and assault charges, whereas | could have taken the same route when they assaulted me, but
instead | fought street justice because that was what | was becoming accustomed to do.

On the same day, but 6AM, | was riding a dirt bike in Takuma Tate’s mother’s community over in
the Cedonia area when 2 patrol cars attempted to hit me off the bike, but | dived onto the grassy knoll.
When they realized that Al was a juvenile they were upset because back then, | could only receive traffic
violations, so they assaulted me. | fought back, wrestled with the white officer who pulled his gun out
on me, and the officer pulled the trigger attempting to shoot me, so | dived on the ground and was
cuffed. To justify his actions, | was charged with over 40counts in Baltimore city and received no bail. At
the age of 17 years old, | was almost assassinated by the Baltimore city police department and sent to
the notorious Baltimore city jail, where | was introduced to the evil that young men will do to one
another when they are caged in.

Your Honor, | did not eat my first (4) days over there. Not because | didn’t want to, but because |
couldn’t. The other kids gave out trays and would take everything off my tray that was good and leave
me with scraps, | was forced to fight to eat. When your stomach begins to howl like a werewolf, you
have no choice, but to let the beast come out. When you start smelling waffles & syrup, but when you
get your tray all you can see are smears of molasses and oatmeal with roach legs in it your mind begins
to think bestial, even as a kid. | wasn’t trying to live just to eat, | was just trying to eat to live. This led to
me getting stabbed in my spine and in my temple and me almost dying. This was in 1996. | didn’t return
to society for (6) years.

During that incarceration, | was sent t place where | cold count on my fingers who didn’t have
life in prison, and out of those ten, | was the only one that had a single digit sentence. The other (9) had
football numbers. This is where | joined a gang and eventually, | was almost killed by that gang. My lung
punctured (8) months before | was supposed to be released by the person who sponsored me into the
gang .| Why? Because he was in love with escaping reality by getting high and | was more of a money
man. My trust factor has been brutalized ever since. Especially when it’s the one you idolize. Hat really
attempted to kill me. | have never been the same. It was like sensibilities went numb. I’m not trying to
hold anything back from you, Ms. Blake, | was in a state of mind whereas, | didn’t care about anything.
My mom had left the state because of the police harassment, which was the effect of why | went to jail.
So four months after my release5/31/02, | was back in custody fighting another assault charge. | spent
13 months locked up and was released in November of 2003, but | came right back home to no one and
nothing once again. | tried to work, but | just couldn’t adjust to the hours of the job at this construction
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Place, Because they hired felons, they believed that since they gave you a chance, you owed them.
They payed $8.00 an hour, for 40 hours a week position, but we worked 55-60 hours a week and only
got payed for 40. By this time, | had been fighting all my life and couldn’t allow someone to treat me
like that, so | quit and ended right back in jail for a handgun charge.

Four months after my release in November 2003, | was arrested for anther handgun. This was
March 2004 and by June 2004 Mayor Sheila Dixon had implemented what was known as Project Exile. If
you got arrested with a gun and you were a felon, you were going to be charged Federal. | was a 25+
year-old young man with nothing, but | was being shipped off to the Federal Bureau of Prisons for a
handgun charge. | was stunned. | received 86 months in November of 2004, and | was released in 2011.
So, from 1996 — 2011, | was only in society for 8 months.

Now, from 2011- 2016, is the time frame of the indictment. Your Honor, | was homeless when | got out.
After all those years a supposedly friend said he had a place for me to stay. He took me to an apartment
where kids were inside cooking crack and smoking weed. He pulled out a duffle bag and an air mattress,
then he left. When | opened the duffel, it wasn’t filled with money Ms. Blake, it was a machine gun.
Fresh out of Federal prison after 71/2 years, | was surrounded by crack, weed & guns. This is what |
came home to, not glitz & glamor nor gold. Not thousands of dollars. | came home to nothing.

Your Honor, | didn’t create a gang. The gang was already there. | will not try to deny my participation in
furthering the gang’s agenda. | did that and ve been accept my responsibility for that since day one,
but the government as well as my court-appointed attorney's attempted tp badger me into becoming a
government informant and | was not with that behavior. They arrested my wife and ft her into these
theories, just to put more pressure on me. They know fully well that she had nothing to do with
Anything | had going on. | also informed them of that from the start, but to make me out to bea
senseless monster they had to incorporate her. Even when it came to them revoking her release. Now
inside of my PSI its written as if | used her to harm people when that is far from the truth. My wife is a
very loving & loyal woman. We created, not only a family but a household together. A household with
kids and all. | would never have jeopardized her or the kids for that matter because | am a man amongst

men.

Now, in reference to the (5) years that this indictment covered, did you know that | was locked
up half of that and before | was locked up, | was living in Georgia. This is where they arrested me in
August of 2014. Because of the bogus gun charge that the city put on me resulting from a house raid
they did on someone else and that person who was the target of the warrant told them that they were
my weapons. | was charged. The crazy thing about it was, | was incarcerated for months and knew
nothing about this person’s house being raided. That was May of 2013. | wasn’t informed about the
charge until June of 2014 at which time | was at the Federal halfway house. His forced me to abscond
(9) hours before my release and | went straight to Georgia.

| know from my encounters with the police like Wayne Jenkins, that Baltimore wasn’t the place
for me. | have copies of letters that | wrote to my lawyer, both Reamy and Whalen in reference to
those cops, in particular Jenkins, months before they were indicted like everything else | told them, they
didn’t use in my defense because they said | hade to cooperate and snitch on others just to get the truth
out. | was really at war with those cops. They even tried to kill me in front of my home and held my
wife at gunpoint. No fabrication this is real life and you can ask Mrs. Whalen did | speak with her about
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it, because when they got indicted, she sent me a letter that | still have that spoké-on theirarrest being
helpful to our case in the long run. The only people it benefitted was the government who revamped

their entire strategy and disregarded everything even the officers they originally were building the case
with like Agent Hood, who you didn’t see at trial. Agent Hood was deeply involved with Jenkins and the

entire Southwestern district.

I’ve said a lot and | can go on and on, but | won’t. Your Honor, | have been dealing with the
deaths of (3) of the victims in my case for years. | have bee found guilty of murdering my friends and
this only comes second to destroying my wife’s chances of pursuing her career in the medical field. | did
not murder James Edwards and | would stand before GOD and say that because he knows. He knows
the money | spent for him to be properly buried as well as the retaliatory actions that occurred because
of his death. This was a kid that when you saw me, you saw him. A kid who my mom bailed out of
Fulton County Jail in Atlanta. There was no animosity between us. The animosity was between Trouble.
And Bangout. Over multiple females including Tierra Williams who the government decided not to use
as a witness at the last minute. At trial, the government never proved | did the murder in which the
Vicar means, but in her rebuttal, Ms. Hoffman told the jury, If they find that | aided and abetted int hat
homicide then | could be found guilty? That is not true. | am not asking you for leniency I’m begging for
justice, your Honor. | am 40 and haven't ever gotten a chance to live and | want to be able to one day
come home and try. Please consider. Please....

Sincerely sent

Mr. Dante Bailey
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